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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
  UNITED STATES OF AMERICA

  v.                                                   Case No. 8:03-cr-77-T-30TBM

  HATIM NAJI FARIZ
  ____________________________________

                                           ORDER

         This cause is before the Court upon Defendant Fariz’s Motion to Preclude or Delay
  the Admission of the Alleged Attacks Based on Delayed Production of BRADY Material
  (Dkt. #1065), and the Government’s response (Dkt. #1123) in opposition thereto. The Court
  heard oral argument on May 26, 2005. Neither in the motion or in the oral argument was
  Defendant able to point to any specific item of discovery that they would now like to perform
  but had been prevented from performing because of the alleged late production of the
  statement in question. Defendant has had this statement for over a month and has taken no
  steps to try to interview the witness or take any other discovery steps that have been
  prevented by the asserted late production of the statement on April 18, 2005.
         It is therefore ORDERED AND ADJUDGED that:
         1.     Defendant Fariz’s Motion to Preclude or Delay the Admission of the Alleged
  Attacks Based on Delayed Production of BRADY Material (Dkt. #1065) is DENIED.
         DONE and ORDERED in Tampa, Florida on May 27, 2005.




  Copies furnished to:
  Counsel/Parties of Record
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